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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                 )      Case Number 8:05CR282
                                          )
                    Plaintiff,            )
                                          )
      v.                                  )             JUDGMENT
                                          )
WILLIAM SCHWENING,                        )
                                          )
                    Defendant.            )


      The defendant having entered a plea of not guilty to Counts I, II, III, IV and V of the

Second Superseding Indictment, and the jury having found that the defendant is not guilty,

      IT IS ORDERED that judgment is hereby entered accordingly, and the defendant

is discharged as to these counts.

      DATED this 19th day of July, 2006.

                                          BY THE COURT:



                                          s/ Joseph F. Bataillon
                                          United States District Judge
